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Jule Rousseau
Eric Adam Biderman
ARENT FOX LLP
1675 Broadway
New York, NY 10019
(212) 484-3900

Attorneys for Arnold Young

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                              Chapter 7
          HERMAN SEGAL,
                                                              Case No. 13-45519 (NHL)
                                    Debtor.
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          NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that Arnold Young, by and through his counsel, Arent Fox

LLP, hereby appears in the above-captioned case and requests that copies of all notices and

pleadings given or filed in the above-captioned case be given and served upon the persons listed

below at the following address, telephone and facsimile numbers, and e-mail addresses:

                                   ARENT FOX LLP
                                   Jule Rousseau
                                   Eric Adam Biderman
                                   1675 Broadway
                                   New York, NY 10019
                                   Telephone: (212) 484-3900
                                   Facsimile: (212) 484-3990
                                   jule.rousseau@arentfox.com
                                   eric.biderman@arentfox.com

          PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the Bankruptcy

Code, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, any notice, application,



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complaint, demand, motion, petition, pleading or request, whether formal or informal, written or

oral and whether transmitted or conveyed by mail, e-mail, facsimile, telephone, telegraph, telex,

or otherwise filed or made with regard to the above-captioned case and proceedings therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned intends that neither this

Notice of Appearance and Demand for Notices and Papers nor any later appearance, pleadings,

claim or suit shall be deemed or construed to be a waiver of the rights of Arnold Young: (1) to

have final orders in non-core matters entered only after de novo review by a District Judge; (2) to

have a trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case; (3) to have the District Court withdraw the reference in any

matter subject to mandatory or discretionary withdrawal; or (4) to assert any other rights, claims,

actions, setoffs, defenses, or recoupments to which Arnold Young is or may be entitled, in law or

in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments Arnold Young

expressly reserves.

Dated: New York, New York                                ARENT FOX LLP
       September 4, 2014
                                                         Attorneys for Arnold Young

                                                   By:          /s/ Jule Rousseau
                                                         Jule Rousseau
                                                         Eric Adam Biderman
                                                         1675 Broadway
                                                         New York, NY 10019
                                                         (212) 484-3900




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